                                 Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23        Page 1 of 31

                                                               EXHIBIT A

                                                        Yellow Corporation
                                                         Case No. 23-11069
                                     Summary Of Hours and Discounted Fees Incurred By Professional
                                            November 1, 2023 through November 30, 2023


                                                                                           Total         Hourly             Total
Professional Person      Position & Department                                             Billed     Billing Rate       Compensation

Bradley Lancy            Managing Director - Advisory                                           6.7   $       850    $        5,695.00
Brandt Selesky           Associate - Audit                                                     14.7   $       200    $        2,940.00
Carlos Perez De Leon     Senior Manager - Audit - Department of Professional Practice           2.5   $       850    $        2,125.00
Celeste Campbell         Manager - Bankruptcy                                                   6.6   $       340    $        2,244.00
Chris Booker             Senior Associate - Audit                                             108.4   $       275    $       29,810.00
Darcie Garza             Managing Director - Audit - Department of Professional Practice        2.3   $       850    $        1,955.00
David Stiteler           Managing Director - Tax                                                0.5   $       850    $          425.00
Derek White              Managing Director - Audit                                             20.3   $       700    $       14,210.00
Ed Chiosso               Partner - Audit                                                        1.5   $       700    $        1,050.00
Ellen Russo              Managing Director - Audit - Department of Professional Practice        0.9   $       850    $          765.00
Emma Makumbe             Senior Manager - Audit                                                 4.1   $       700    $        2,870.00
Frank Metellus           Director - Advisory                                                    7.0   $       850    $        5,950.00
Juanita Garza            Senior Associate - Bankruptcy                                          1.2   $       280    $          336.00
Kaylee Page              Senior Associate - Audit                                              21.3   $       275    $        5,857.50
Ken Grapperhaus          Partner - Audit                                                        4.8   $       700    $        3,360.00
Maureen Downie           Partner - Audit - Department of Professional Practice                  1.3   $       850    $        1,105.00
May Suthiseranee         Senior Manager - Tax                                                   0.5   $       850    $          425.00
Memory Liang             Director - Advisory                                                    3.4   $       850    $        2,890.00
Michael Ensz             Partner - Audit                                                       37.5   $       700    $       26,250.00
Michael Pierce           Partner - Audit - Department of Professional Practice                  0.6   $       850    $          510.00
Mike Mollerus            Partner - Tax - BTS                                                    0.8   $       850    $          680.00
Mila Orobia              Associate - Bankruptcy                                                27.3   $       240    $        6,552.00
Ngugi Kiarie             Senior Associate - Audit                                             128.5   $       275    $       35,337.50
Randy Green              Partner - Audit                                                        1.0   $       700    $          700.00
Scott Molos              Managing Director - Tax - BTS                                          0.8   $       850    $          680.00
Steve Eisenstein         Director - Actuarial - Center for Audit Solutions                      0.8   $       850    $          680.00
Valarie Mosier           Managing Director - Audit - Department of Professional Practice        1.0   $       850    $          850.00
Wendy Shaffer            Associate Director - Bankruptcy                                        3.1   $       380    $        1,178.00

Hours and Fees at Discounted Rates                                                            409.4                  $      157,430.00
Total Discounted Fees                                                                                                $      157,430.00
Out of Pocket Expenses                                                                                               $             -
Total Fees & Out of Pocket Expenses                                                                                  $      157,430.00
Less Holdback Adjustment (20%)                                                                                              (31,486.00)
Net Requested Fees & Out of Pocket Expenses                                                                          $      125,944.00


Blended Hourly Rate                                                                                   $    384.54




KPMG LLP Monthly Fee Statement                                                                                                 Page 1 of 31
                                 Case 23-11069-CTG              Doc 1483-2          Filed 12/22/23       Page 2 of 31

                                                              EXHIBIT B

                                                          Yellow Corporation
                                                          Case No. 23-11069
                                        Summary of Hours and Discounted Fees Incurred by Category
                                             November 1, 2023 through November 30, 2023


                                                                                          Total          Total Fees
             Category                                                     Exhibit     Billed Hours       Requested

             Audit Services                                                 C1              371.2    $     147,120.00
             Retention Services                                             C2                1.7    $         646.00
             Fee Application Services                                       C3               36.5    $       9,664.00

                                        Total                                               409.4    $     157,430.00




KPMG LLP Monthly Fee Statement                                                                                          Page 2 of 31
                              Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23          Page 3 of 31

                                                            EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                         Hours        Rate        Amount

Michael Ensz            11/01/23 (0.2) Responding to email correspondence from C.              0.2   $     700   $        140.00
                                 Booker (KPMG) regarding listing of individuals to
                                 perform 3rd quarter inquires with.
Chris Booker            11/01/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/1/23.
Kaylee Page             11/01/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/1/23.
Ngugi Kiarie            11/01/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/1/23.
Derek White             11/01/23 (0.4) Meeting with M. Ensz, D. White (KPMG) to                0.4   $     700   $        280.00
                                 discuss manager assignments, priorities of
                                 workstreams, claims liability accounting for Yellow
                                 Corp.
Darcie Garza            11/01/23 (0.5) Meeting with D. Garza, M. Downie, T. Bernert,           0.5   $     850   $        425.00
                                 P. DeFalco (KPMG) to discuss materiality
                                 considerations pre and post petition.
Maureen Downie          11/01/23 (0.5) Meeting with D. Garza, M. Downie, T. Bernert,           0.5   $     850   $        425.00
                                 P. DeFalco (KPMG) to discuss materiality
                                 considerations pre and post petition.
Derek White             11/01/23 (0.6) Meeting with D. White, M. Ensz (KPMG), and J.           0.6   $     700   $        420.00
                                 Carlson (Yellow) to discuss liquidation balance sheet
                                 accounts and reporting and whether Yellow meets
                                 criteria for OTC reporting issuer.
Michael Ensz            11/01/23 (0.6) Meeting with D. White, M. Ensz (KPMG), and J.           0.6   $     700   $        420.00
                                 Carlson (Yellow) to discuss liquidation balance sheet
                                 accounts and reporting and whether Yellow meets
                                 criteria for OTC reporting issuer.
Chris Booker            11/01/23 (0.9) Meeting with E. Makumbe, C. Booker (KPMG)               0.9   $     275   $        247.50
                                 to discuss progress, as of 11/1/23, of screens ready for
                                 review, and materiality considerations.
Ngugi Kiarie            11/01/23 (0.9) Review, as of 11/01/23, Yellow Corp SEC                 0.9   $     275   $        247.50
                                 filings to determine what impacts those filings will
                                 have on the audit.
Memory Liang            11/01/23 (1.4) Perform ASC 205-30 as well as other application         1.4   $     850   $      1,190.00
                                 accounting provision in response to the Yellow Corp
                                 audit team's questions related to the treatment of
                                 certain matters.
Ngugi Kiarie            11/01/23 (1.5) Update, as of 11/01/23, Yellow Corporation              1.5   $     275   $        412.50
                                 independence considerations to confirm the auditors
                                 are independent.


 KPMG LLP Monthly Fee Statement                                                                                       Page 3 of 31
                              Case 23-11069-CTG                Doc 1483-2          Filed 12/22/23          Page 4 of 31

                                                            EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                           Hours        Rate        Amount

Kaylee Page             11/01/23    1.6 Added all applicable service organizations to the        1.6   $     275   $        440.00
                                   KCw file in order to include the documentation
                                   relevant to Yellow Corp business process.
Michael Ensz            11/01/23   (1.7) Partner review, as of 11/01/23, of matters related      1.7   $     700   $      1,190.00
                                   to Yellow non-union pension plan accounting under
                                   liquidation basis, Company delay filing of 10-Q along
                                   with the required consultation requirement with DPP,
                                   as well as management's post bankruptcy DIP
                                   financing accounting / disclosure considerations.
Kaylee Page             11/01/23   1.8 Documented all Yellow Corp service organization           1.8   $     275   $        495.00
                                   understanding screens to align with FSA audit,
                                   concurrently removing all references to reliance upon
                                   SOC reports.
Ngugi Kiarie            11/01/23   (2.0) Prepare audit plan slides as well as plan timeline      2.0   $     275   $        550.00
                                   to be shared with the Audit Committee.
Kaylee Page             11/01/23   2.2 Continue, from earlier on 11/01/23, to add all            2.2   $     275   $        605.00
                                   applicable service organizations to the KCw file in
                                   order to include the documentation relevant to Yellow
                                   Corp business process.
Ngugi Kiarie            11/01/23   Reconcile, as of 11/01/23, Yellow Corp ledger AP              3.1   $     275   $        852.50
                                   expense account to the trial balance (1.7), concurrently
                                   updating the procedures to apply to same for
                                   substantive testing (1.4).
Chris Booker            11/01/23   Updated Yellow group scoping file, as of 11/01/23, to         3.8   $     275   $      1,045.00
                                   better map general ledger accounts to KCw significant
                                   accounts using Alteryx.
Chris Booker            11/01/23   Continue, from earlier on 11/01/23, to update Yellow          3.9   $     275   $      1,072.50
                                   group scoping file to better map general ledger
                                   accounts to KCw significant accounts using Alteryx.
Chris Booker            11/02/23   (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                   (KPMG) to discuss audit status and next steps, as of
                                   11/02/23.
Kaylee Page             11/02/23   (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                   (KPMG) to discuss audit status and next steps, as of
                                   11/02/23.
Ngugi Kiarie            11/02/23   (0.4) Meeting with C. Booker, K. Page and N. Kiarie           0.4   $     275   $        110.00
                                   (KPMG) to discuss audit status and next steps, as of
                                   11/02/23.
Kaylee Page             11/02/23   0.4 Finalized CERAMIC meeting agenda related to               0.4   $     275   $        110.00
                                   Yellow Corp prior to the meeting.




 KPMG LLP Monthly Fee Statement                                                                                         Page 4 of 31
                              Case 23-11069-CTG             Doc 1483-2         Filed 12/22/23         Page 5 of 31

                                                          EXHIBIT C1

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                        Audit Services
                                          November 1, 2023 through November 30, 2023




       Name               Date                        Description                        Hours        Rate        Amount

Bradley Lancy           11/02/23 (0.5) Meeting with B. Lancy and M. Liang (KPMG) to         0.5   $     850   $        425.00
                                 align on the accounting treatments of workers
                                 compensation/property damage claims, and single
                                 employer pension plan under the liquidation basis of
                                 accounting in response to Yellow Corp. audit team's
                                 questions.
Memory Liang            11/02/23 (0.5) Meeting with B. Lancy and M. Liang (KPMG) to         0.5   $     850   $        425.00
                                 align on the accounting treatments of workers
                                 compensation/property damage claims, and single
                                 employer pension plan under the liquidation basis of
                                 accounting in response to Yellow Corp. audit team's
                                 questions.
Chris Booker            11/02/23 (0.5) Meeting with D. White, C. Booker (KPMG) to           0.5   $     275   $        137.50
                                 discuss group scoping during the pre-petition period.
Derek White             11/02/23 (0.5) Meeting with D. White, C. Booker (KPMG) to           0.5   $     700   $        350.00
                                 discuss group scoping during the pre-petition period.
Chris Booker            11/02/23 (0.5) Meeting with D. White, C. Booker, K. Page            0.5   $     275   $        137.50
                                 (KPMG), J. Bernadt (Yellow) to discuss approach to
                                 testing CERAMIC controls in the pre and post petition
                                 period.
Derek White             11/02/23 (0.5) Meeting with D. White, C. Booker, K. Page            0.5   $     700   $        350.00
                                 (KPMG), J. Bernadt (Yellow) to discuss approach to
                                 testing CERAMIC controls in the pre and post petition
                                 period.
Kaylee Page             11/02/23 (0.5) Meeting with D. White, C. Booker, K. Page            0.5   $     275   $        137.50
                                 (KPMG), J. Bernadt (Yellow) to discuss approach to
                                 testing CERAMIC controls in the pre and post petition
                                 period.
Steve Eisenstein        11/02/23 (0.8) Performed actuarial specialist review, as of         0.8   $     850   $        680.00
                                 11/02/23, of single employer pension plan information
                                 presentation prepared by Kirkland & Ellis,
                                 concurrently planning certain estimates as of January
                                 1, 2024 presentation prepared by WTW to assess
                                 applicability for planning / liquidation basis of
                                 accounting purposes while preparing email with
                                 findings to be sent to D. White, C. Booker, and M.
                                 Ensz (KPMG).
Ken Grapperhaus         11/02/23 (1.0) Accounting research, as of 11/02/23,                 1.0   $     700   $        700.00
                                 concurrently analyzing the liquidation basis of
                                 accounting related to Yellow Corporation.




 KPMG LLP Monthly Fee Statement                                                                                    Page 5 of 31
                              Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23          Page 6 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Kaylee Page             11/02/23 1.3 Added logistics as a business process related to         1.3   $     275   $        357.50
                                 Yellow Corp, concurrently documenting the applicable
                                 risks along with our understanding of the process.
Kaylee Page             11/02/23 2.2 Began to document the individual risk IDs within         2.2   $     275   $        605.00
                                 Yellow Corp logistics business process screen along
                                 with our understanding of the process.
Kaylee Page             11/02/23 2.6 Continue, from earlier on 11/02/23, to document          2.6   $     275   $        715.00
                                 the individual risk IDs within Yellow Corp logistics
                                 business process screen along with our understanding
                                 of the process.
Ngugi Kiarie            11/02/23 (3.3) Updated, as of 11/02/23, the Q3 financial              3.3   $     275   $        907.50
                                 statements review procedures to be performed over the
                                 Q3 statements.
Chris Booker            11/02/23 (3.6) Revised, as of 11/02/23, the materiality               3.6   $     275   $        990.00
                                 considerations related to Yellow Corp going concern
                                 period.
Chris Booker            11/02/23 (3.7) Calculated the appropriate benchmarks for the in       3.7   $     275   $      1,017.50
                                 scope funds within the Yellow Corp alternative
                                 investment portfolio for use by Yellow's Senior
                                 Accountant.
Ngugi Kiarie            11/02/23 (3.7) Continue, from earlier on 11/02/23, to update the      3.7   $     275   $      1,017.50
                                 Q3 financial statements review procedures to be
                                 performed over the Q3 statements.
Ken Grapperhaus         11/03/23 (0.3) Meeting with C. Perez De Leon and K.                   0.3   $     700   $        210.00
                                 Grapperhaus (KPMG) to discuss liquidation basis of
                                 accounting consultation.
Chris Booker            11/03/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie          0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/03/23.
Kaylee Page             11/03/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie          0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/03/23.
Ngugi Kiarie            11/03/23 (0.4) Meeting with C. Booker, K. Page and N. Kiarie          0.4   $     275   $        110.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/03/23.
Chris Booker            11/03/23 (0.5) Meeting with D. White, C. Booker, M. Ensz, M.          0.5   $     275   $        137.50
                                 Suthiseranee, D. Stiteler (KPMG) to discuss revenue
                                 equipment process, performing valuation under
                                 liquidation basis.




 KPMG LLP Monthly Fee Statement                                                                                      Page 6 of 31
                              Case 23-11069-CTG           Doc 1483-2         Filed 12/22/23        Page 7 of 31

                                                        EXHIBIT C1

                                                   Yellow Corporation
                                                    Case No. 23-11069
                                                      Audit Services
                                        November 1, 2023 through November 30, 2023




       Name               Date                      Description                       Hours        Rate        Amount

David Stiteler       11/03/23 (0.5) Meeting with D. White, C. Booker, M. Ensz, M.        0.5   $     850   $        425.00
                              Suthiseranee, D. Stiteler (KPMG) to discuss revenue
                              equipment process, performing valuation under
                              liquidation basis.
Derek White          11/03/23 (0.5) Meeting with D. White, C. Booker, M. Ensz, M.        0.5   $     700   $        350.00
                              Suthiseranee, D. Stiteler (KPMG) to discuss revenue
                              equipment process, performing valuation under
                              liquidation basis.
May Suthiseranee     11/03/23 (0.5) Meeting with D. White, C. Booker, M. Ensz, M.        0.5   $     850   $        425.00
                              Suthiseranee, D. Stiteler (KPMG) to discuss revenue
                              equipment process, performing valuation under
                              liquidation basis.
Michael Ensz         11/03/23 (0.5) Meeting with D. White, C. Booker, M. Ensz, M.        0.5   $     700   $        350.00
                              Suthiseranee, D. Stiteler (KPMG) to discuss revenue
                              equipment process, performing valuation under
                              liquidation basis.
Carlos Perez De Leon 11/03/23 (0.5) Meeting with D. White, K. Grapperhaus, M.            0.5   $     850   $        425.00
                              Ensz, C. Perez De Leon (KPMG) to discuss
                              liquidation basis of accounting conclusion
                              consultation.
Derek White          11/03/23 (0.5) Meeting with D. White, K. Grapperhaus, M.            0.5   $     700   $        350.00
                              Ensz, C. Perez De Leon (KPMG) to discuss
                              liquidation basis of accounting conclusion
                              consultation.
Ken Grapperhaus      11/03/23 (0.5) Meeting with D. White, K. Grapperhaus, M.            0.5   $     700   $        350.00
                              Ensz, C. Perez De Leon (KPMG) to discuss
                              liquidation basis of accounting conclusion
                              consultation.
Michael Ensz         11/03/23 (0.5) Meeting with D. White, K. Grapperhaus, M.            0.5   $     700   $        350.00
                              Ensz, C. Perez De Leon (KPMG) to discuss
                              liquidation basis of accounting conclusion
                              consultation.
Ngugi Kiarie         11/03/23 (0.9) Document Yellow Corp business risks along            0.9   $     275   $        247.50
                              with the approach the audit will follow to respond to
                              the risks with focus on areas to concentrate on.
Chris Booker         11/03/23 (1.0) Meeting with B. Lancy, M. Liang, D. White, C.        1.0   $     275   $        275.00
                              Booker, E. Makumbe, M. Ensz (KPMG) to discuss
                              worker's compensation and BIPD accounting, right of
                              offset/takeover, single employee pension plan
                              valuation date.




 KPMG LLP Monthly Fee Statement                                                                                 Page 7 of 31
                              Case 23-11069-CTG             Doc 1483-2         Filed 12/22/23         Page 8 of 31

                                                          EXHIBIT C1

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                        Audit Services
                                          November 1, 2023 through November 30, 2023




       Name               Date                        Description                        Hours        Rate        Amount

Michael Ensz            11/03/23 (1.0) Researched, as of 11/03/23, Yellow's by-laws,        1.0   $     700   $        700.00
                                 bankruptcy filings, along with certification of
                                 incorporation to evaluate who has authorized approval
                                 of a liquidation plan.
Bradley Lancy           11/03/23 (1.1) Meeting with D. White, M. Ensz, E. Makumbe,          1.1   $     850   $        935.00
                                 C. Booker, B. Lancy, M. Liang (KPMG) to discuss the
                                 accounting treatments of workers compensation /
                                 property damage claims, and single employer pension
                                 plan under reorganization/liquidation accounting for
                                 Yellow Corp.
Derek White             11/03/23 (1.1) Meeting with D. White, M. Ensz, E. Makumbe,          1.1   $     700   $        770.00
                                 C. Booker, B. Lancy, M. Liang (KPMG) to discuss the
                                 accounting treatments of workers compensation /
                                 property damage claims, and single employer pension
                                 plan under reorganization/liquidation accounting for
                                 Yellow Corp.
Emma Makumbe            11/03/23 (1.1) Meeting with D. White, M. Ensz, E. Makumbe,          1.1   $     700   $        770.00
                                 C. Booker, B. Lancy, M. Liang (KPMG) to discuss the
                                 accounting treatments of workers compensation /
                                 property damage claims, and single employer pension
                                 plan under reorganization/liquidation accounting for
                                 Yellow Corp.
Memory Liang            11/03/23 (1.1) Meeting with D. White, M. Ensz, E. Makumbe,          1.1   $     850   $        935.00
                                 C. Booker, B. Lancy, M. Liang (KPMG) to discuss the
                                 accounting treatments of workers compensation /
                                 property damage claims, and single employer pension
                                 plan under reorganization/liquidation accounting for
                                 Yellow Corp.
Michael Ensz            11/03/23 (1.1) Meeting with D. White, M. Ensz, E. Makumbe,          1.1   $     700   $        770.00
                                 C. Booker, B. Lancy, M. Liang (KPMG) to discuss the
                                 accounting treatments of workers compensation /
                                 property damage claims, and single employer pension
                                 plan under reorganization/liquidation accounting for
                                 Yellow Corp.
Kaylee Page             11/03/23 1.2 Confirm Yellow Corp RA was consistent within           1.2   $     275   $        330.00
                                 the treasury risk screen based on updated 7/31
                                 numbers.
Kaylee Page             11/03/23 2.9 Continue, as of 11/03/23, to document the              2.9   $     275   $        797.50
                                 individual risk IDs within Yellow Corp logistics
                                 business process along with our understanding of the
                                 process.




 KPMG LLP Monthly Fee Statement                                                                                    Page 8 of 31
                              Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23         Page 9 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Ngugi Kiarie            11/03/23 (3.2) Continue, from earlier on 11/03/23, to document        3.2   $     275   $        880.00
                                 Yellow Corp business risks along with the approach
                                 the audit will follow to respond to the risks.
Kaylee Page             11/03/23 3.4 Updated, as of 11/03/23, the amounts in the Risk         3.4   $     275   $        935.00
                                 IDs within Yellow Corp HR Risk screen based on
                                 updated 7/31 numbers as well as the associated risk
                                 assessment.
Chris Booker            11/03/23 (3.5) Revised, as of 11/03/23, the group scoping             3.5   $     275   $        962.50
                                 considerations related to Yellow Corp general ledger
                                 accounts, concurrently finalizing the alternative
                                 investment benchmarks to be used by the company’s
                                 Senior Accountant.
Ngugi Kiarie            11/03/23 (3.5) Update, as of 11/03/23, the audit team’s               3.5   $     275   $        962.50
                                 understanding of the entity and its environment,
                                 concurrently continuing to document Yellow Corp
                                 business risks along with the approach the audit will
                                 follow to respond to the risks with focus on areas to
                                 concentrate on.
Chris Booker            11/03/23 (3.9) Continue, from earlier on 11/03/23, to revise          3.9   $     275   $      1,072.50
                                 group scoping considerations related to Yellow’s
                                 general ledger accounts, concurrently finalizing the
                                 alternative investment benchmarks to be used by the
                                 company’s Senior Accountant.
Chris Booker            11/06/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $         55.00
                                 to discuss audit status and next steps, as of 11/06/23.
Ngugi Kiarie            11/06/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $         55.00
                                 to discuss audit status and next steps, as of 11/06/23.
Derek White             11/06/23 (0.3) Meeting with M. Ensz, D. White, J. Roberts, E.         0.3   $     700   $        210.00
                                 Chiosso (KPMG) to discuss consultation requirement
                                 for Yellow Corp for Form 12b-25 and planned
                                 approach for timing.
Ed Chiosso              11/06/23 (0.3) Meeting with M. Ensz, D. White, J. Roberts, E.         0.3   $     700   $        210.00
                                 Chiosso (KPMG) to discuss consultation requirement
                                 for Yellow Corp for Form 12b-25 and planned
                                 approach for timing.
Michael Ensz            11/06/23 (0.3) Meeting with M. Ensz, D. White, J. Roberts, E.         0.3   $     700   $        210.00
                                 Chiosso (KPMG) to discuss consultation requirement
                                 for Yellow Corp for Form 12b-25 and planned
                                 approach for timing.




 KPMG LLP Monthly Fee Statement                                                                                      Page 9 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 10 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Chris Booker            11/06/23 (1.1) Research, as of 11/06/23, the appropriate method       1.1   $     275   $         302.50
                                 to sample revenue during a going concern period with
                                 no controls reliance to appropriately sample the
                                 company’s revenue in line with new guidelines.
Derek White             11/06/23 (1.9) Managing Director review, as of 11/06/23, of pre-      1.9   $     700   $       1,330.00
                                 petition period Materiality memo in advance of
                                 submission to DPP.
Emma Makumbe            11/06/23 Senior Manager review, as of 11/06/23, of CERAMIC            2.0   $     700   $       1,400.00
                                 controls along with the plan revisions documentation
                                 in KCw file for Yellow.
Chris Booker            11/06/23 (2.7) Reconcile, as of 11/06/23, revenue transactions        2.7   $     275   $         742.50
                                 to what is displayed within the general ledger in order
                                 to appropriately sample the balance.
Ngugi Kiarie            11/06/23 (2.9) Determine Yellow Corp operating expense                2.9   $     275   $         797.50
                                 populations, concurrently performing sampling of the
                                 population to test the account balance to confirm the
                                 balance was correct.
Ngugi Kiarie            11/06/23 (3.1) Reconcile, as of 11/06/23, various Yellow Corp         3.1   $     275   $         852.50
                                 expense accounts for testing.
Chris Booker            11/06/23 (3.4) Continue, from earlier on 11/06/23, to reconcile       3.4   $     275   $         935.00
                                 revenue transactions to what is displayed within the
                                 general ledger in order to appropriately sample the
                                 balance.
Michael Ensz            11/06/23 (3.9) Research, as of 11/06/23, concurrent Partner           3.9   $     700   $       2,730.00
                                 review, in conjunction with national office
                                 consultation preparation of Yellow 12b-25 filing and
                                 impacts of delayed filing.
Ellen Russo             11/07/23 (0.2) Managing Director review, as of 11/07/23, of           0.2   $     850   $         170.00
                                 Yellow Form 12b-25 draft along with related
                                 documentation / procedures.
Chris Booker            11/07/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss audit status and next steps, as of 11/7/23.
Ngugi Kiarie            11/07/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss audit status and next steps, as of 11/7/23.
Ed Chiosso              11/07/23 (0.4) Meeting with M. Pierce, E. Russo, E. Chiosso           0.4   $     700   $         280.00
                                 (KPMG) to discuss Yellow Corp Form 12b-25 draft
                                 filing and required procedures.
Ellen Russo             11/07/23 (0.4) Meeting with M. Pierce, E. Russo, E. Chiosso           0.4   $     850   $         340.00
                                 (KPMG) to discuss Yellow Corp Form 12b-25 draft
                                 filing and required procedures.




 KPMG LLP Monthly Fee Statement                                                                                      Page 10 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23           Page 11 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                         Hours        Rate        Amount

Michael Pierce          11/07/23 (0.4) Meeting with M. Pierce, E. Russo, E. Chiosso            0.4   $     850   $         340.00
                                 (KPMG) to discuss Yellow Corp Form 12b-25 draft
                                 filing and required procedures.
Ken Grapperhaus         11/07/23 (0.5) Accounting research, as of 11/07/23, related to         0.5   $     700   $         350.00
                                 the application of the liquidation basis of accounting
                                 criteria specific to Yellow Corporation.
Valarie Mosier          11/07/23 Managing Director review, as of 11/07/23, of Yellow           0.5   $     850   $         425.00
                                 Corp Form 12b-25 draft filing.
Randy Green             11/07/23 Partner review, as of 11/07/23, of Form 12b-25                1.0   $     700   $         700.00
                                 prepared for Yellow Corp and related documentation.
Emma Makumbe            11/07/23 Senior Manager review, as of 11/06/23, of Q3 pre-             1.0   $     700   $         700.00
                                 engagement screens including the attachments in KCw
                                 file for Yellow.
Chris Booker            11/07/23 (1.6) Calculate materiality related to revenue as a           1.6   $     275   $         440.00
                                 percentage of a significant account in order to perform
                                 sub calculation of performance materiality.
Chris Booker            11/07/23 (2.3) Continue, from earlier on 11/07/23, to calculate        2.3   $     275   $         632.50
                                 materiality related to revenue as a percentage of a
                                 significant account in order to perform sub calculation
                                 of performance materiality.
Ngugi Kiarie            11/07/23 (2.3) Perform substantive testing procedures of Yellow        2.3   $     275   $         632.50
                                 Corp expense accounts.
Ngugi Kiarie            11/07/23 Combined Yellow Corp expenses details into one                2.5   $     275   $         687.50
                                 detail, concurrently reconciling, as of 11/07/23, to the
                                 trial balance (1.3). Perform sampling to select samples
                                 to be tested to assist the audit team test the expense
                                 account as part of the audit procedures (1.2).
Chris Booker            11/07/23 (3.1) Perform sampling, as of 11/07/23, of Yellow             3.1   $     275   $         852.50
                                 Corp revenue in the going concern period as part of
                                 required audit procedures.
Ngugi Kiarie            11/07/23 (3.2) Reconcile, as of 11/07/23, various Yellow               3.2   $     275   $         880.00
                                 business expenses accounts to the trial balance in
                                 advance of substantive procedures.
Michael Ensz            11/07/23 (3.9) Continue, as of 11/07/23, to perform Partner            3.9   $     700   $       2,730.00
                                 review, in conjunction with national office
                                 consultation preparation of Yellow Form 12b-25 filing
                                 and impacts of delayed filing.
Ngugi Kiarie            11/08/23 (0.2) Meeting with N. Kiarie and E. Makumbe                   0.2   $     275   $          55.00
                                 (KPMG) to discuss audit status and next steps, as of
                                 11/08/23.




 KPMG LLP Monthly Fee Statement                                                                                       Page 11 of 31
                             Case 23-11069-CTG            Doc 1483-2         Filed 12/22/23          Page 12 of 31

                                                         EXHIBIT C1

                                                    Yellow Corporation
                                                     Case No. 23-11069
                                                       Audit Services
                                         November 1, 2023 through November 30, 2023




       Name               Date                       Description                        Hours        Rate        Amount

Carlos Perez De Leon 11/08/23 (0.3) Call with C. Perez de Leon, T. Phelps, and K.          0.3   $     850   $         255.00
                              Grapperhaus (KPMG) to confirm C. Perez De Leon
                              and K. Grapperhaus (KPMG) position related to going
                              concern analysis.
Ellen Russo          11/08/23 (0.3) Continue, as of 11/08/23, Managing Director            0.3   $     850   $         255.00
                              review of engagement team documentation as well as
                              procedures related to Yellow Form 12b-25 filing.
Derek White          11/08/23 (0.3) Meeting with M. Ensz, D. White (KPMG) to               0.3   $     700   $         210.00
                              discuss liquidation basis of accounting, status, as of
                              11/08/23, of audit procedures, related DPP memo /
                              comments.
Ken Grapperhaus      11/08/23 (0.5) Continue, as of 11/08/23, accounting research          0.5   $     700   $         350.00
                              related to the liquidation basis of accounting criteria
                              specific to Yellow Corporation.
Chris Booker         11/08/23 (0.5) Meeting with C. Booker and E. Makumbe                  0.5   $     275   $         137.50
                              (KPMG) to discuss audit progress, as of 11/08/23,
                              including group scoping and materiality as well as the
                              progress on samples being sent out.
Valarie Mosier       11/08/23 Continue, as of 11/08/23, Managing Director review           0.5   $     850   $         425.00
                              of Yellow Corp Form 12b-25 draft filing.
Michael Ensz         11/08/23 (0.6) Meeting with D. White, M. Ensz (KPMG) and J.           0.6   $     700   $         420.00
                              Carlson (Yellow) to discuss liquidation balance sheet
                              accounts and criteria for liquidation basis accounting.
Carlos Perez De Leon 11/08/23 (0.7) Meeting with M. Ensz, K. Grapperhaus, and C.           0.7   $     850   $         595.00
                              Perez De Leon (KPMG) regarding liquidation basis
                              accounting criteria as it relates to Yellow Corp.
Ken Grapperhaus      11/08/23 (0.7) Meeting with M. Ensz, K. Grapperhaus, and C.           0.7   $     700   $         490.00
                              Perez De Leon (KPMG) regarding liquidation basis
                              accounting criteria as it relates to Yellow Corp.
Michael Ensz         11/08/23 (0.7) Meeting with M. Ensz, K. Grapperhaus, and C.           0.7   $     700   $         490.00
                              Perez De Leon (KPMG) regarding liquidation basis
                              accounting criteria as it relates to Yellow Corp.
Chris Booker         11/08/23 (0.9) Assist with the reconciliation of the vehicle          0.9   $     275   $         247.50
                              maintenance expense population to the general ledger
                              to confirm the appropriate balances are being tested.
Derek White          11/08/23 (0.9) Meeting with M. Ensz, D. White (KPMG), J.              0.9   $     700   $         630.00
                              Carlson (Yellow) to discuss status, as of 11/08/23, of
                              auction status for real estate and equipment, status of
                              the form 10-Q draft, comment timeline, and claims
                              timeline.
Chris Booker         11/08/23 (1.5) Reconcile, as of 11/08/23, the Yellow Corp             1.5   $     275   $         412.50
                              purchased trans - rail expense to the general ledger to
                              confirm the appropriate balances are being tested.


 KPMG LLP Monthly Fee Statement                                                                                   Page 12 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23           Page 13 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                         Hours        Rate        Amount

Chris Booker            11/08/23 (1.6) Analyze, as of 11/08/23, the support needed for         1.6   $     275   $         440.00
                                 the Yellow Corp freight revenue sample request to
                                 confirm client is aware of how large of a undertaking
                                 this is post bankruptcy.
Chris Booker            11/08/23 (2.0) Confirm all required workpaper documentation is         2.0   $     275   $         550.00
                                 accounted for in the Yellow Corp going concern file.
Ngugi Kiarie            11/08/23 (3.8) Perform substantive testing procedures of Yellow        3.8   $     275   $       1,045.00
                                 Corp rail purchased expenses.
Ngugi Kiarie            11/08/23 (3.9) Continue, from earlier on 11/08/23, to perform          3.9   $     275   $       1,072.50
                                 substantive testing procedures of Yellow Corp rail
                                 purchased expenses.
Michael Ensz            11/08/23 (3.9) Researching and reviewing, as of 11/08/23,              3.9   $     700   $       2,730.00
                                 liquidation basis of accounting in comparison to
                                 Yellow Corps facts / circumstances.
Michael Pierce          11/09/23 (0.2) DPP Partner review, as of 11/09/23, of draft            0.2   $     850   $         170.00
                                 Yellow Form 12b-25 filing.
Ed Chiosso              11/09/23 (0.3) Partner review, as of 11/09/23, of Yellow Form          0.3   $     700   $         210.00
                                 12b-25 draft filing as well as the required procedures.
Chris Booker            11/09/23 (0.5) Meeting with D. Garza, M. Downie, D. White, C.          0.5   $     275   $         137.50
                                 Booker (KPMG) to discuss, as of 11/09/23, materiality
                                 considerations pre and post petition.
Darcie Garza            11/09/23 (0.5) Meeting with D. Garza, M. Downie, D. White, C.          0.5   $     850   $         425.00
                                 Booker (KPMG) to discuss, as of 11/09/23, materiality
                                 considerations pre and post petition.
Derek White             11/09/23 (0.5) Meeting with D. Garza, M. Downie, D. White, C.          0.5   $     700   $         350.00
                                 Booker (KPMG) to discuss, as of 11/09/23, materiality
                                 considerations pre and post petition.
Maureen Downie          11/09/23 (0.5) Meeting with D. Garza, M. Downie, D. White, C.          0.5   $     850   $         425.00
                                 Booker (KPMG) to discuss, as of 11/09/23, materiality
                                 considerations pre and post petition.
Ngugi Kiarie            11/09/23 (1.5) Perform substantive testing procedures of Yellow        1.5   $     275   $         412.50
                                 Corp motor vehicle maintenance expenses.
Chris Booker            11/09/23 (1.8) Revise going concern period PBC list, as of             1.8   $     275   $         495.00
                                 11/09/23, for new sample request.
Chris Booker            11/09/23 (2.7) Evaluate, as of 11/09/23, Yellow Corp fuel / fuel       2.7   $     275   $         742.50
                                 tax analytics through 7/31 to confirm inputs are
                                 appropriate in the climate. (e.g., use of a CPI index or
                                 fuel surcharge for certain diesel vehicles).
Chris Booker            11/09/23 (3.0) Senior Associate review, as of 11/09/23, of the         3.0   $     275   $         825.00
                                 remaining Yellow Corp IS samples that the
                                 engagement team will need to request.




 KPMG LLP Monthly Fee Statement                                                                                       Page 13 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23          Page 14 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                        Hours        Rate        Amount

Ngugi Kiarie            11/09/23 (3.1) Continue, from earlier on 11/09/23, to perform         3.1   $     275   $         852.50
                                 substantive testing procedures of Yellow Corp motor
                                 vehicle maintenance expenses.
Ngugi Kiarie            11/09/23 (3.2) Continue, from earlier on 11/09/23, to perform         3.2   $     275   $         880.00
                                 substantive testing procedures of Yellow Corp
                                 expense motor vehicle maintenance expenses.
Chris Booker            11/10/23 (0.2) Meeting with C. Booker, N. Kiarie and E.               0.2   $     275   $          55.00
                                 Makumbe (KPMG) to discuss audit status and next
                                 steps, as of 11/10/23.
Ngugi Kiarie            11/10/23 (0.2) Meeting with C. Booker, N. Kiarie and E.               0.2   $     275   $          55.00
                                 Makumbe (KPMG) to discuss audit status and next
                                 steps, as of 11/10/23.
Ed Chiosso              11/10/23 (0.5) Continue, as of 11/10/23, Partner review of            0.5   $     700   $         350.00
                                 Yellow Form 12b-25 draft filing as well as the
                                 required procedures.
Ngugi Kiarie            11/10/23 (1.8) Update, as of 11/10/23, the substantive                1.8   $     275   $         495.00
                                 procedures to refine the procedures the audit will use
                                 for some expense testing.
Chris Booker            11/10/23 (2.0) Senior Associate review, as of 11/10/23, of            2.0   $     275   $         550.00
                                 process allocations for the remaining processes in the
                                 file along with liquidation period for Yellow Corp.
Ngugi Kiarie            11/10/23 (2.5) Analyze, as of 11/10/23, concurrently                  2.5   $     275   $         687.50
                                 documenting risk related to Yellow Corp claims and
                                 litigations accounts.
Chris Booker            11/10/23 (2.9) Revise, as of 11/10/23, the engagement teams           2.9   $     275   $         797.50
                                 risk assessment related to Yellow Corp freight revenue
                                 to update the risk assessment post bankruptcy.
Chris Booker            11/10/23 (3.1) Revise, as of 11/10/23, the engagement teams           3.1   $     275   $         852.50
                                 risk assessment related to Yellow Corp Human
                                 Resources to update the risk assessment post
                                 bankruptcy.
Ngugi Kiarie            11/10/23 (3.8) Continue, as of 11/09/23, to perform substantive       3.8   $     275   $       1,045.00
                                 testing procedures of Yellow Corp motor vehicle
                                 maintenance expenses.
Chris Booker            11/13/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss audit status and next steps, as of 11/13/23.
Ngugi Kiarie            11/13/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss audit status and next steps, as of 11/13/23.
Derek White             11/13/23 Draft the required DPP Consultation memo for                 0.5   $     700   $         350.00
                                 Yellow's anticipated untimely 3Q Form 10-Q filing.




 KPMG LLP Monthly Fee Statement                                                                                      Page 14 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 15 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Chris Booker            11/13/23 Reconcile, as of 11/13/23, what PPLs will be needed          1.5   $     275   $         412.50
                                 for Yellow Corp going concern audit file versus the
                                 liquidation audit file.
Ngugi Kiarie            11/13/23 (1.7) Document Yellow Corp use of estimate for AP            1.7   $     275   $         467.50
                                 expenses along with procedures the audit will use to
                                 test the estimate.
Ngugi Kiarie            11/13/23 (2.8) Document fuel and tax expenses information             2.8   $     275   $         770.00
                                 used for the audit along with the procedures that will
                                 be applied to test the accuracy / completeness of the
                                 information.
Chris Booker            11/13/23 Reconcile, as of 11/13/23, the first 7 months of             3.0   $     275   $         825.00
                                 revenue transactions to the Yellow Corp general
                                 ledger to confirm correct population for sampling.
Chris Booker            11/13/23 Review, as of 11/13/23, Yellow Corp financial                3.3   $     275   $         907.50
                                 reporting requirements for the first 7 months of the
                                 year.
Ngugi Kiarie            11/13/23 (3.5) Update, as of 11/13/23, Yellow Corp claim and          3.5   $     275   $         962.50
                                 litigation audit risks to confirm documentation of the
                                 analysis of the audit team’s understanding of the
                                 current year changes.
Chris Booker            11/14/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss staff questions related to sampling plan and
                                 nuances of purchased transportation for Yellow.
Ngugi Kiarie            11/14/23 (0.7) Update, as of 11/14/23, PBCs list of required          0.7   $     275   $         192.50
                                 documents to be requested from Yellow Corp. to
                                 enable the audit team to perform procedures,
                                 concurrently updating the cloud site where Yellow
                                 Corp will upload those documents.
Bradley Lancy           11/14/23 (1.0) Meeting with B. Lancy, F. Metellus, M. Ensz, D.        1.0   $     850   $         850.00
                                 White (KPMG), J. Carlson, L. Trevino-Legler
                                 (Yellow) to discuss current worker's compensation and
                                 BIPD claims status, as of 11/14/23, and related
                                 accounting.
Derek White             11/14/23 (1.0) Meeting with B. Lancy, F. Metellus, M. Ensz, D.        1.0   $     700   $         700.00
                                 White (KPMG), J. Carlson, L. Trevino-Legler
                                 (Yellow) to discuss current worker's compensation and
                                 BIPD claims status, as of 11/14/23, and related
                                 accounting.
Frank Metellus          11/14/23 (1.0) Meeting with B. Lancy, F. Metellus, M. Ensz, D.        1.0   $     850   $         850.00
                                 White (KPMG), J. Carlson, L. Trevino-Legler
                                 (Yellow) to discuss current worker's compensation and
                                 BIPD claims status, as of 11/14/23, and related
                                 accounting.


 KPMG LLP Monthly Fee Statement                                                                                      Page 15 of 31
                             Case 23-11069-CTG                Doc 1483-2          Filed 12/22/23           Page 16 of 31

                                                             EXHIBIT C1

                                                       Yellow Corporation
                                                        Case No. 23-11069
                                                          Audit Services
                                            November 1, 2023 through November 30, 2023




       Name               Date                           Description                          Hours        Rate        Amount

Michael Ensz            11/14/23 (1.0) Meeting with B. Lancy, F. Metellus, M. Ensz, D.           1.0   $     700   $         700.00
                                 White (KPMG), J. Carlson, L. Trevino-Legler
                                 (Yellow) to discuss current worker's compensation and
                                 BIPD claims status, as of 11/14/23, and related
                                 accounting.
Darcie Garza            11/14/23 (1.0) Perform DPP (Department of Professional                   1.0   $     850   $         850.00
                                 Practice) Managing Director review, as of 11/14/23, of
                                 draft materiality Consultation memo.
Chris Booker            11/14/23 Perform sub-population performance materiality                  2.0   $     275   $         550.00
                                 calculations for revenue / expense samples.
Ngugi Kiarie            11/14/23 (2.8) Continue, as of 11/14/23, to document fuel and            2.8   $     275   $         770.00
                                 tax expenses information used for the audit along with
                                 the procedures that will be applied to test the accuracy
                                 / completeness of the information.
Chris Booker            11/14/23 Prepare the proportionate deferral estimate submodule           2.8   $     275   $         770.00
                                 for Yellow Corp as part of required audit procedure.
Chris Booker            11/14/23 Clear, as of 11/14/23, the remaining review comments            3.0   $     275   $         825.00
                                 from going concern file, mostly related to risk
                                 assessment considerations taken pre-bankruptcy.
Ngugi Kiarie            11/14/23 (3.7) Evaluate, as of 11/14/23, the audit risk of Yellow        3.7   $     275   $       1,017.50
                                 processes in order to update the changes to the client
                                 in the year.
Michael Ensz            11/15/23 (0.7) Meeting with D. White, M. Ensz (KPMG) and J.              0.7   $     700   $         490.00
                                 Carlson (Yellow) regarding 3Q 10Q draft filing and
                                 liquidation of accounting.
Ngugi Kiarie            11/15/23 (1.0) Draft claims payment inquiry to be sent to                1.0   $     275   $         275.00
                                 Yellow third-party claims handler.
Derek White             11/15/23 (1.0) Meeting with M. Ensz, D. White (KPMG), J.                 1.0   $     700   $         700.00
                                 Carlson (Yellow) to discuss status, as of 11/15/23, of
                                 withdrawal liability, bid tracking for real estate, and to
                                 update on status of auction for revenue equipment and
                                 related fair value assessment.
Derek White             11/15/23 (1.5) Review, as of 11/15/23, of draft 10-Q from                1.5   $     700   $       1,050.00
                                 Yellow management, concurrently providing
                                 comments to Yellow management.
Frank Metellus          11/15/23 Director review, as of 11/15/23, of Yellow                      2.0   $     850   $       1,700.00
                                 Corporation drafted 10-Q financial statements in order
                                 to provide comments to KPMG audit team.
Ngugi Kiarie            11/15/23 (3.3) Perform substantive testing procedures on fuel            3.3   $     275   $         907.50
                                 expenses.
Ngugi Kiarie            11/15/23 (3.7) Draft legal confirmations to be sent to Yellow            3.7   $     275   $       1,017.50
                                 counsel.




 KPMG LLP Monthly Fee Statement                                                                                         Page 16 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23          Page 17 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Michael Ensz            11/15/23 (3.8) Partner review, as of 11/15/23, of draft 3Q 10-Q.      3.8   $     700   $       2,660.00
Bradley Lancy        11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     850   $         425.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Carlos Perez De Leon 11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     850   $         425.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Derek White          11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     700   $         350.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Frank Metellus       11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     850   $         425.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Ken Grapperhaus      11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     700   $         350.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Michael Ensz         11/16/23 (0.5) Meeting with D. White, K. Grapperhaus, M.                 0.5   $     700   $         350.00
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG) to discuss liquidation basis of accounting,
                              audit procedures to supplement the Yellow Corp
                              Accounting memo, and answer questions from DPP.
Bradley Lancy        11/16/23 (0.5) Meeting with F. Metellus and B. Lancy (KPMG)              0.5   $     850   $         425.00
                              to walkthrough KPMG Director comments, as of
                              11/16/23, for the draft 10-Q, specifically focusing on
                              bankruptcy and liquidation-related disclosures.
Frank Metellus       11/16/23 (0.5) Meeting with F. Metellus and B. Lancy (KPMG)              0.5   $     850   $         425.00
                              to walkthrough KPMG Director comments, as of
                              11/16/23, for the draft 10-Q, specifically focusing on
                              bankruptcy and liquidation-related disclosures.




 KPMG LLP Monthly Fee Statement                                                                                      Page 17 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 18 of 31

                                                           EXHIBIT C1

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                        Audit Services
                                          November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Carlos Perez De Leon 11/16/23 (0.5) Meeting with K. Grapperhause and C. Perez de              0.5   $     850   $         425.00
                              Leon (KPMG) to discuss accounting and audit
                              considerations related to liquidation basis of
                              accounting for the team to document, and provided in
                              writing these accounting and audit considerations on
                              11-17-23 to M. Ensz (KPMG).
Bradley Lancy        11/16/23 (0.8) Managing Director review, as of 11/16/23, of              0.8   $     850   $         680.00
                              draft 10-Q, including bankruptcy / liquidation-related
                              disclosures.
Michael Ensz         11/16/23 (0.8) Meeting with D. White, M. Ensz, C. Booker, and            0.8   $     700   $         560.00
                              E. Makumbe (KPMG) regarding audit status, as of
                              11/16/23, risk assessment, and scoping of FS account
                              balances.
Ken Grapperhaus      11/16/23 (0.8) Perform research, concurrent analysis, as of              0.8   $     700   $         560.00
                              11/16/23, on liquidation basis of accounting, audit
                              procedures to supplement the Yellow Corp
                              Accounting memo prior to call with D. White, M.
                              Ensz, C. Perez De Leon, F. Metellus, B. Lancy
                              (KPMG).
Derek White          11/16/23 (1.0) Meeting with M. Ensz, D. White, C. Booker, E.             1.0   $     700   $         700.00
                              Makumbe (KPMG) to discuss status of audit samples,
                              approach for the interim review and next steps, as of
                              11/16/23.
Michael Ensz         11/16/23 (3.8) Continue, as of 11/16/23, Partner review of draft         3.8   $     700   $       2,660.00
                              3Q 10-Q.
Derek White          11/17/23 Managing Director review, as of 11/17/23, of the pre-           0.7   $     700   $         490.00
                              petition Materiality memo, concurrently responding to
                              DPP's comments/updating the memo.
Ngugi Kiarie         11/17/23 (1.4) Update, as of 11/17/23, the audit risk related to         1.4   $     275   $         385.00
                              claims business process along with the design audit
                              procedures to respond to those risks due to changes in
                              operations of Yellow’s following bankruptcy filing.
Ngugi Kiarie         11/17/23 (2.6) Update, as of 11/17/23, Yellow Corp claims and            2.6   $     275   $         715.00
                              litigation audit procedures following the bankruptcy
                              filing.
Frank Metellus       11/17/23 Research, as of 11/17/23, regarding the treatment of            3.0   $     850   $       2,550.00
                              Yellow Corporation's multi-employer pension plans,
                              specifically at it relates to whether the claim of certain
                              threshold meets the criteria to be recorded as a liability
                              (presuming under ASC 450 via ASC 715-80-35-2).
Ngugi Kiarie         11/17/23 (3.5) Document substantive procedures that will be              3.5   $     275   $         962.50
                              performed by the audit team on claims and litigation
                              for Yellow Corp reported amounts.


 KPMG LLP Monthly Fee Statement                                                                                      Page 18 of 31
                             Case 23-11069-CTG              Doc 1483-2          Filed 12/22/23          Page 19 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Chris Booker            11/20/23 (0.8) Meeting with D. White, C. Booker (KPMG), J.            0.8   $     275   $         220.00
                                 Carlson, B. Gress J. Wolfe (Yellow) to discuss
                                 adjusting entries made to the financial statements to
                                 roll the FS as of 7/31/ to 8/6 (Date of Bankruptcy).
Derek White             11/20/23 (0.8) Meeting with D. White, C. Booker (KPMG), J.            0.8   $     700   $         560.00
                                 Carlson, B. Gress J. Wolfe (Yellow) to discuss
                                 adjusting entries made to the financial statements to
                                 roll the FS as of 7/31/ to 8/6 (Date of Bankruptcy).
Ngugi Kiarie            11/21/23 (0.2) Meeting with C. Booker, and N. Kiarie (KPMG)           0.2   $     275   $          55.00
                                 to discuss audit status and next steps, as of 11/21/23.
Bradley Lancy           11/21/23 (0.5) Managing Director research, as of 11/21/23,            0.5   $     850   $         425.00
                                 concurrently providing comments regarding
                                 appropriate measurement of lease accounting balances
                                 in light of liquidation.
Chris Booker            11/21/23 (0.5) Meeting with D. White, C. Booker, M. Ensz              0.5   $     275   $         137.50
                                 (KPMG) to review liquidation basis of Accounting
                                 memo for DPP, specific audit procedures and
                                 coordination with the client.
Derek White             11/21/23 (0.5) Meeting with D. White, C. Booker, M. Ensz              0.5   $     700   $         350.00
                                 (KPMG) to review liquidation basis of Accounting
                                 memo for DPP, specific audit procedures and
                                 coordination with the client.
Michael Ensz            11/21/23 (0.5) Meeting with D. White, C. Booker, M. Ensz              0.5   $     700   $         350.00
                                 (KPMG) to review liquidation basis of Accounting
                                 memo for DPP, specific audit procedures and
                                 coordination with the client.
Derek White             11/21/23 (0.5) Meeting with D. White, M. Ensz, M. Mollerus,           0.5   $     700   $         350.00
                                 S. Molos (KPMG) to discuss timeline and current
                                 status, as of 11/21/23, of interim review income tax
                                 provision.
Derek White             11/21/23 (0.5) Meeting with M. Ensz, D. White (KPMG), J.              0.5   $     700   $         350.00
                                 Carlson (Yellow) to discuss current status, as of
                                 11/21/23, of liquidation plan and interim review.
Michael Ensz            11/21/23 (0.5) S. Mollos, M. Mollerus, D. White, and M. Ensz          0.5   $     700   $         350.00
                                 (KPMG) meeting to discuss tax accounting
                                 implication from bankruptcy and liquidation
                                 accounting.
Ngugi Kiarie            11/21/23 (0.5) Update, as of 11/21/23, the audit plan for Yellow      0.5   $     275   $         137.50
                                 Corp FS statements audit procedures.
Michael Ensz            11/21/23 (0.6) D. White, M. Ensz (KPMG) and J. Carlson                0.6   $     700   $         420.00
                                 (Yellow) meeting to discuss liquidation and
                                 bankruptcy accounting, disclosure, and presentation
                                 considerations.


 KPMG LLP Monthly Fee Statement                                                                                      Page 19 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 20 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Michael Ensz            11/21/23 (0.7) D. White, C. Booker and M. Ensz (KPMG)                 0.7   $     700   $         490.00
                                 meeting to discuss audit planned procedures around
                                 liquidation basis accounting conclusion.
Ngugi Kiarie            11/21/23 (0.7) Updated, as of 11/21/23, the audit team’s risk         0.7   $     275   $         192.50
                                 assessment agenda to be discussed during the audit
                                 team risk assessment meeting for Yellow Corp.
Michael Ensz            11/21/23 (0.9) Research, as of 11/21/23, accounting and               0.9   $     700   $         630.00
                                 disclosure implications for Yellow Corp.'s right of use
                                 assets / lease liabilities balances.
Ngugi Kiarie            11/21/23 (1.0) Determine which Yellow Corp cash accounts to           1.0   $     275   $         275.00
                                 confirm with Yellow banks.
Ngugi Kiarie            11/21/23 (1.3) Update, as of 11/21/23, the communication plans        1.3   $     275   $         357.50
                                 / audit approach slides to be shared with Yellow
                                 management / Audit Committee.
Ngugi Kiarie            11/21/23 Aggregate prior year quarter and yearly financial            3.7   $     275   $       1,017.50
                                 statements, current year quarter and to date financial
                                 statements (2.5), concurrently preparing instructions
                                 for KPMG staff who will be assisting with Yellow
                                 Corp FS review / tie out (1.2).
Bradley Lancy           11/22/23 (1.3) Perform technical accounting research, as of           1.3   $     850   $       1,105.00
                                 11/22/23, related to potential lease assumption,
                                 modification, rejection, and abandonment, specifically
                                 focusing on accounting for the cease of asset use as
                                 well as potential assignment of contractual obligations
                                 to new parties with respect to potential Yellow Corp
                                 scenarios.
Brandt Selesky          11/27/23 (0.3) Meeting with B. Selesky, C. Booker (KPMG) to           0.3   $     200   $          60.00
                                 discuss the scheduling of Q3 inquiries with members
                                 of Yellow Corp management and directors.
Chris Booker            11/27/23 (0.3) Meeting with B. Selesky, C. Booker (KPMG) to           0.3   $     275   $          82.50
                                 discuss the scheduling of Q3 inquiries with members
                                 of Yellow Corp management and directors.
Michael Ensz            11/27/23 (0.8) Meeting with M. Ensz, M. Mollerus, S. Molos,           0.8   $     700   $         560.00
                                 D. White (KPMG), J. Carlson, J. Minter (Yellow), and
                                 S. Tedrow, and J. Carlstedt (E&Y) to discuss income
                                 tax topics of the 3Q interim review for Yellow
                                 Corporation, with a focus on valuation allowance and
                                 real estate gain topics.




 KPMG LLP Monthly Fee Statement                                                                                      Page 20 of 31
                             Case 23-11069-CTG             Doc 1483-2         Filed 12/22/23          Page 21 of 31

                                                          EXHIBIT C1

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                        Audit Services
                                          November 1, 2023 through November 30, 2023




       Name               Date                        Description                        Hours        Rate        Amount

Mike Mollerus           11/27/23 (0.8) Meeting with M. Ensz, M. Mollerus, S. Molos,         0.8   $     850   $         680.00
                                 D. White (KPMG), J. Carlson, J. Minter (Yellow), and
                                 S. Tedrow, and J. Carlstedt (E&Y) to discuss income
                                 tax topics of the 3Q interim review for Yellow
                                 Corporation, with a focus on valuation allowance and
                                 real estate gain topics.
Scott Molos             11/27/23 (0.8) Meeting with M. Ensz, M. Mollerus, S. Molos,         0.8   $     850   $         680.00
                                 D. White (KPMG), J. Carlson, J. Minter (Yellow), and
                                 S. Tedrow, and J. Carlstedt (E&Y) to discuss income
                                 tax topics of the 3Q interim review for Yellow
                                 Corporation, with a focus on valuation allowance and
                                 real estate gain topics.
Ngugi Kiarie            11/27/23 (0.8) Senior Associate review, as of 11/27/23, of          0.8   $     275   $         220.00
                                 financial statements tie-out performed by KPMG
                                 engagement team to confirm the financial statements
                                 are accurate.
Brandt Selesky          11/27/23 (1.0) Communication regarding scheduling of Q3             1.0   $     200   $         200.00
                                 inquiries with A. Hodges and L. Malleck (Yellow)
                                 through email for D. Carty and L. Dawson (Yellow).
Ngugi Kiarie            11/27/23 (1.0) Document the AP expense estimate process for         1.0   $     275   $         275.00
                                 Yellow Corp including how the audit will respond to
                                 the use of the estimate in Yellow’s accounting
                                 process.
Ngugi Kiarie            11/27/23 (1.2) Document Yellow Corp estimates process on            1.2   $     275   $         330.00
                                 claims business process as well as how the audit will
                                 test the estimate process.
Brandt Selesky          11/27/23 (1.8) Created a comprehensive schedule to be sent via      1.8   $     200   $         360.00
                                 email to A. Hodges (Yellow) for KPMG personnel to
                                 meet with members of Yellow management / directors
                                 to perform Q3 inquiries for those members who have
                                 responsibility for financial / accounting matters.
Ngugi Kiarie            11/27/23 (2.0) Perform substantive testing of expenses for          2.0   $     275   $         550.00
                                 Yellow Corp operating expenses account.
Chris Booker            11/27/23 (2.0) Senior Associate review, as of 11/27/23,             2.0   $     275   $         550.00
                                 concurrently updating benchmarks for Yellow Corp's
                                 alternative investment population.
Chris Booker            11/27/23 (2.1) Prepared Flux analysis for financial statements      2.1   $     275   $         577.50
                                 that will be presented within the 3Q interim review
                                 report for Yellow.
Ngugi Kiarie            11/27/23 (2.5) Document claims audit risks related to Yellow        2.5   $     275   $         687.50
                                 Corp including how the audit will respond to those
                                 risks.




 KPMG LLP Monthly Fee Statement                                                                                    Page 21 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23           Page 22 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                         Hours        Rate        Amount

Chris Booker            11/27/23 (2.9) Senior Associate review, as of 11/27/23, of the         2.9   $     275   $         797.50
                                 interim PBC list post-discussion with Yellow Corp
                                 controller to confirm Yellow Corp Controller revisions
                                 were incorporated.
Darcie Garza            11/28/23 (0.3) Continue, as of 11/28/23, to perform DPP                0.3   $     850   $         255.00
                                 Managing Director review of draft Materiality
                                 consultation memo.
Maureen Downie          11/28/23 DPP Partner review, as of 11/28/23, of documentation          0.3   $     850   $         255.00
                                 of materiality considerations pre-petition.
Ngugi Kiarie            11/28/23 (0.4) Update, as of 11/28/23, the audit documentation         0.4   $     275   $         110.00
                                 of the understanding audit procedure of loss
                                 contingency accounting process by Yellow Corp.
Ngugi Kiarie            11/28/23 (0.4) Update, as of 11/28/23, the documentation on            0.4   $     275   $         110.00
                                 Yellow Corp trial balance / financial statements tie-out
                                 to be included in Yellow Corp audit file.
Brandt Selesky          11/28/23 (0.5) Meeting with B. Selesky, C. Booker (KPMG), J.           0.5   $     200   $         100.00
                                 Carlson, B. Gress, T. Wilson, J. Jung, L. Kreitzburg,
                                 P. Joachim, and V. Davis (Yellow) to discuss
                                 substantive testing of revenue and the support that will
                                 be provided by the client, timeline of when support
                                 will be provided, and issues that may arise in the
                                 process.
Chris Booker            11/28/23 (0.5) Meeting with B. Selesky, C. Booker (KPMG), J.           0.5   $     275   $         137.50
                                 Carlson, B. Gress, T. Wilson, J. Jung, L. Kreitzburg,
                                 P. Joachim, and V. Davis (Yellow) to discuss
                                 substantive testing of revenue and the support that will
                                 be provided by the client, timeline of when support
                                 will be provided, and issues that may arise in the
                                 process.
Chris Booker            11/28/23 (0.5) Meeting with B. Selesky, C. Booker, N. Kiarie           0.5   $     275   $         137.50
                                 (KPMG) to discuss the numerical figures to be used in
                                 Q3 analytics and risk assessment and analysis for fixed
                                 assets.
Derek White             11/28/23 Responded to DPP comments on Materiality memo in              0.5   $     700   $         350.00
                                 advance of recirculating to the group for incremental
                                 comments.
Ngugi Kiarie            11/28/23 (1.1) Document how the audit team will test Yellow            1.1   $     275   $         302.50
                                 Corp PPE.
Brandt Selesky          11/28/23 (1.1) Reviewed, as of 11/28/23, the group scoping of          1.1   $     200   $         220.00
                                 general ledger accounts to gain an understanding of
                                 what accounts are in scope to be tested as well as what
                                 accounts are untested, to better understand the audit
                                 approach.


 KPMG LLP Monthly Fee Statement                                                                                       Page 22 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 23 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Chris Booker            11/28/23 (1.5) Prepare the rough draft of the engagement teams        1.5   $     275   $         412.50
                                 liquidation basis of Accounting memo to document
                                 audit procedures performed / alternative views.
Ngugi Kiarie            11/28/23 (1.6) Research, as of 11/28/23, the analytical               1.6   $     275   $         440.00
                                 procedures required for Yellow Corp Q3 reporting,
                                 concurrently determine what procedures to apply to
                                 Yellow Corp Q3 financial statements review.
Chris Booker            11/28/23 (1.8) Reconfigured the freight revenue substantive           1.8   $     275   $         495.00
                                 support request to Yellow management to better align
                                 with their limited staffing.
Chris Booker            11/28/23 (3.2) Continue, as of 11/28/23, to prepare the rough         3.2   $     275   $         880.00
                                 draft of the engagement teams liquidation basis of
                                 Accounting memo to document audit procedures
                                 performed / alternative views.
Ngugi Kiarie            11/28/23 (3.5) Create property lead sheets from different files       3.5   $     275   $         962.50
                                 showing the change in Yellow assets.
Chris Booker            11/29/23 (0.3) Meeting with C. Booker, D. White (KPMG) to             0.3   $     275   $          82.50
                                 discuss approach for documentation and audit
                                 procedures to response to DPP comments on the
                                 liquidation basis of Accounting memo.
Derek White             11/29/23 (0.3) Meeting with C. Booker, D. White (KPMG) to             0.3   $     700   $         210.00
                                 discuss approach for documentation and audit
                                 procedures to response to DPP comments on the
                                 liquidation basis of Accounting memo.
Memory Liang            11/29/23 (0.4) Research, as of 11/29/23, example 10-K / 10-Q          0.4   $     850   $         340.00
                                 filings for internal control disclosures under the
                                 liquidation basis of accounting.
Bradley Lancy           11/29/23 (0.5) Managing Director review, as of 11/29/23, of           0.5   $     850   $         425.00
                                 debtor's financial statement disclosures regarding
                                 impact of bankruptcy and liquidation in internal
                                 controls over financial reporting.
Brandt Selesky          11/29/23 (0.5) Meeting with B. Selesky, C. Booker (KPMG) to           0.5   $     200   $         100.00
                                 discuss the fixed asset additions population provided
                                 by client and how we will approach testing it.
Chris Booker            11/29/23 (0.5) Meeting with B. Selesky, C. Booker (KPMG) to           0.5   $     275   $         137.50
                                 discuss the fixed asset additions population provided
                                 by client and how we will approach testing it.
Brandt Selesky          11/29/23 (0.5) Meeting with B. Selesky, C. Booker, N. Kiarie          0.5   $     200   $         100.00
                                 (KPMG) to discuss the numerical figures to be used in
                                 Q3 analytics and risk assessment and analysis for fixed
                                 assets.




 KPMG LLP Monthly Fee Statement                                                                                      Page 23 of 31
                             Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23           Page 24 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Ngugi Kiarie            11/29/23 (0.5) Meeting with B. Selesky, C. Booker, N. Kiarie          0.5   $     275   $         137.50
                                 (KPMG) to discuss the numerical figures to be used in
                                 Q3 analytics and risk assessment and analysis for fixed
                                 assets.
Chris Booker            11/29/23 (0.9) Meeting with M. Ensz, D. White, C. Booker, E.          0.9   $     275   $         247.50
                                 Makumbe (KPMG) to discuss status, as of 11/29/23,
                                 of interim review file, liquidation basis of Accounting
                                 memo, and audit sampling approach.
Derek White             11/29/23 (0.9) Meeting with M. Ensz, D. White, C. Booker, E.          0.9   $     700   $         630.00
                                 Makumbe (KPMG) to discuss status, as of 11/29/23,
                                 of interim review file, liquidation basis of Accounting
                                 memo, and audit sampling approach.
Michael Ensz            11/29/23 (0.9) Meeting with M. Ensz, D. White, C. Booker, E.          0.9   $     700   $         630.00
                                 Makumbe (KPMG) to discuss status, as of 11/29/23,
                                 of interim review file, liquidation basis of Accounting
                                 memo, and audit sampling approach.
Ngugi Kiarie            11/29/23 (1.1) Document the audit team understanding of the           1.1   $     275   $         302.50
                                 HR process for substantive procedures.
Derek White             11/29/23 (1.1) Meeting with M. Ensz, D. White (KPMG), J.              1.1   $     700   $         770.00
                                 Carlson (Yellow) to discuss current status, as of
                                 11/29/23, including lease related accounting, pension
                                 liabilities, MEPPP liability assessment.
Michael Ensz            11/29/23 (1.1) Meeting with M. Ensz, D. White (KPMG), J.              1.1   $     700   $         770.00
                                 Carlson (Yellow) to discuss current status, as of
                                 11/29/23, including lease related accounting, pension
                                 liabilities, MEPPP liability assessment.
Brandt Selesky          11/29/23 (1.2) Exported project plan, concurrently confirm all        1.2   $     200   $         240.00
                                 screens / attachments were included for Q3 in
                                 preparation of sending the project plan to C. Booker
                                 (KPMG) for his review.
Ngugi Kiarie            11/29/23 (1.3) Aggregate a list of PBCs to request from Yellow        1.3   $     275   $         357.50
                                 Corp for the purpose of performing substantive
                                 procedures.
Chris Booker            11/29/23 (1.3) Reconcile, as of 11/29/23, the fixed additions         1.3   $     275   $         357.50
                                 and disposals to the Yellow Corp rollforward in line
                                 with required audit procedures.
Ngugi Kiarie            11/29/23 (1.4) Analyze PPE additions / disposals to determine         1.4   $     275   $         385.00
                                 what caused the movements of Yellow Corp PPE.
Chris Booker            11/29/23 (1.6) Update, as of 11/29/23, the Liquidation memo           1.6   $     275   $         440.00
                                 reviewed by DPP based on suggestions from meeting
                                 earlier today.




 KPMG LLP Monthly Fee Statement                                                                                      Page 24 of 31
                             Case 23-11069-CTG               Doc 1483-2         Filed 12/22/23          Page 25 of 31

                                                           EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                         Description                         Hours        Rate        Amount

Brandt Selesky          11/29/23 (1.8) Examined, as of 11/29/23, the fixed assets             1.8   $     200   $         360.00
                                 additions population to identify the time periods /
                                 entities that had additions, concurrently reviewing
                                 prior year risk assessment as well as testing the prior
                                 year fixed assets population to gain a better
                                 understanding of the historical approach to risk
                                 assessment / testing.
Chris Booker            11/29/23 (3.4) Analyzed, as of 11/29/23, the appropriateness of       3.4   $     275   $         935.00
                                 review procedures that will be completed by the
                                 engagement team for Q3, by customizing procedures
                                 that historically would be performed for an interim
                                 review to better align with the facts / circumstance of
                                 the client.
Ngugi Kiarie            11/29/23 (3.7) Aggregate Q3 financial balance sheet to be             3.7   $     275   $       1,017.50
                                 utilized for Q3 financial statements review.
Michael Ensz            11/30/23 (0.3) Meeting with M. Ensz (KPMG) and J. Carlson             0.3   $     700   $         210.00
                                 (Yellow) regarding bankruptcy filing inquiry.
Michael Ensz            11/30/23 (0.7) Meeting with M. Ensz (KPMG) and M. Doheny              0.7   $     700   $         490.00
                                 (Yellow) inquiry of Restructuring Officer as part 3Q
                                 interim review procedures to discuss management's
                                 and BOD's liquidation strategy and filed bankruptcy
                                 claims.
Derek White             11/30/23 (1.0) Meeting with M. Ensz, D. White (KPMG), L.              1.0   $     700   $         700.00
                                 Dawson, L. Malleck (Yellow) regarding inquiry of
                                 general council as part of 3Q interim review
                                 procedures discussing current litigation.
Michael Ensz            11/30/23 (1.0) Meeting with M. Ensz, D. White (KPMG), L.              1.0   $     700   $         700.00
                                 Dawson, L. Malleck (Yellow) regarding inquiry of
                                 general counsel as part of 3Q interim review
                                 procedures discussing current litigation.
Brandt Selesky          11/30/23 (1.0) Updated KCw screens, as of 11/30/23, with              1.0   $     200   $         200.00
                                 documentation regarding the positives / negatives
                                 within the additions and disposals of the fixed assets
                                 population, concurrently populating the subpopulation
                                 performance materiality template for sampling
                                 purposes.
Chris Booker            11/30/23 (1.7) Analyzed, as of 11/30/23, salaries wages and           1.7   $     275   $         467.50
                                 benefits analytics to understand whether same will be
                                 able to be used in the CY due to fluctuations in
                                 headcount.
Ngugi Kiarie            11/30/23 (2.1) Continued, from earlier on 11/30/23, to perform        2.1   $     275   $         577.50
                                 Senior Associate Q3 financial statements review
                                 procedures for Yellow Corp interim reporting.


 KPMG LLP Monthly Fee Statement                                                                                      Page 25 of 31
                             Case 23-11069-CTG               Doc 1483-2          Filed 12/22/23           Page 26 of 31

                                                            EXHIBIT C1

                                                      Yellow Corporation
                                                       Case No. 23-11069
                                                         Audit Services
                                           November 1, 2023 through November 30, 2023




       Name               Date                          Description                          Hours        Rate        Amount

Brandt Selesky          11/30/23 (2.2) Scrubbed the fixed assets additions / disposals          2.2   $     200   $         440.00
                                 population to be run through the sampling tool.
Chris Booker            11/30/23 (2.3) Senior Associate review, as of 11/30/23,                 2.3   $     275   $         632.50
                                 concurrently updating Yellow Corp risk assessment
                                 related to the logistics operating company to align with
                                 planned approach.
Brandt Selesky          11/30/23 (2.8) Tie out additions / disposals population to the          2.8   $     200   $         560.00
                                 fixed asset rollforward, concurrently performing tie
                                 out of the fixed assets roll forward to the trial balance
                                 for completeness purposes.
Ngugi Kiarie            11/30/23 (3.9) Perform Senior Associate Q3 financial                    3.9   $     275   $       1,072.50
                                 statements review procedures, as of 11/30/23, for
                                 purposes of Yellow Corp interim financial statements
                                 reporting.


                                                   Total Audit Services                       371.2               $     147,120.00




 KPMG LLP Monthly Fee Statement                                                                                        Page 26 of 31
                            Case 23-11069-CTG              Doc 1483-2         Filed 12/22/23          Page 27 of 31

                                                          EXHIBIT C2

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                       Retention Services
                                          November 1, 2023 through November 30, 2023




          Name               Date                         Description                        Hours    Rate       Amount

   Wendy Shaffer           11/14/23 0.2 Prepared Schedules 1 & 2 related to KPMG                0.2 $ 380    $       76.00
                                    Supplemental Declaration.
   Wendy Shaffer           11/14/23 0.9 Begin to prepare Supplemental Declaration for           0.9 $ 380    $      342.00
                                    Yellow Corp based with regard to additional
                                    disclosures required related to updated PII List
                                    provided by K&E.
   Wendy Shaffer           11/15/23 0.1 Drafted email to provide copy of same to M. Ensz        0.1 $ 380    $       38.00
                                    (KPMG Partner) for review/sign-off.
   Wendy Shaffer           11/15/23 0.1 Drafted email to T. Huskey (K&E) to provide final       0.1 $ 380    $       38.00
                                    draft of KPMG Supplemental Declaration in the
                                    Yellow Corp matter related to updated PII list.
   Wendy Shaffer           11/15/23 0.2 Finalized Yellow Corp Supplemental Declaration          0.2 $ 380    $       76.00
                                    based on review comments from J. Roberts (KPMG
                                    OGC).
   Wendy Shaffer           11/28/23 0.1 Drafted email to T. Huskey (K&E) to request             0.1 $ 380    $       38.00
                                    status, as of 11/28/23, of filing of KPMG
                                    Supplemental Declaration related to updated PII list.
   Wendy Shaffer           11/30/23 0.1 Email communication with T. Huskey (K&E))               0.1 $ 380    $       38.00
                                    regarding status, as of 11/30/23, related to filing of
                                    KPMG Supplemental Declaration and follow-up
                                    communication with M. Orobia (KPMG) related to
                                    same.


                                                   Total Retention Services                     1.7          $       646.00




KPMG LLP Monthly Fee Statement                                                                                      Page 27 of 31
                            Case 23-11069-CTG               Doc 1483-2          Filed 12/22/23         Page 28 of 31

                                                           EXHIBIT C3

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                   Fee Application Services
                                          November 1, 2023 through November 30, 2023




          Name               Date                          Description                         Hours    Rate       Amount

  Mila Orobia              11/02/23 Prepare the narrative (1.3) / declaration and                 1.5 $ 240    $     360.00
                                    certification (0.2) to be included in Yellow 1st
                                    combined monthly fee application.
  Mila Orobia              11/03/23 0.1 Email communication with C. Campbell (KPMG)               0.1 $ 240    $      24.00
                                    to send the narrative /declaration and certification for
                                    the 1st combined monthly fee application for review.
  Mila Orobia              11/03/23 1.1 Continue, as of 11/03/23, to prepare exhibit C1 for       1.1 $ 240    $     264.00
                                    inclusion in Yellow Corporation 1st combined
                                    monthly fee application.
  Mila Orobia              11/03/23 3.0 Continue, from earlier on 11/03/23, to prepare            3.0 $ 240    $     720.00
                                    exhibit C1 for inclusion in Yellow Corporation 1st
                                    combined monthly fee application.
  Wendy Shaffer            11/06/23 0.4 Performed Associate Director review, as of                0.5 $ 380    $     190.00
                                    11/06/23, of initial draft of Yellow Narrative /
                                    Certification while concurrently providing review
                                    comments; 0.1 Drafted email to provide copy of same
                                    to M. Orobia (KPMG).
  Mila Orobia              11/13/23 0.1 Email communication with C. Campbell (KPMG)               0.1 $ 240    $      24.00
                                    requesting to review Yellow Corp 1st combined
                                    monthly exhibit for inclusion in the 1st combined
                                    monthly fee application.
  Mila Orobia              11/13/23 3.8 Finalize the Yellow Corp 1st combined monthly             3.8 $ 240    $     912.00
                                    exhibits in preparation for sending to C. Campbell
                                    (KPMG) for review.
  Juanita Garza            11/14/23 Senior Associate review, as of 11/14/23, of exhibits          1.2 $ 280    $     336.00
                                    for first monthly combined fee application,
                                    concurrently updating / providing comments.
  Mila Orobia              11/15/23 0.1 Email communication with Yellow Corp debtors              0.1 $ 240    $      24.00
                                    counsel (Kirkland & Ellis LLP) regarding inquiry
                                    related to Yellow's 1st interim fee application.
  Mila Orobia              11/15/23 0.3 Clear, concurrently update, as of 11/15/23, Yellow        0.3 $ 240    $      72.00
                                    Corp 1st combined monthly exhibit based on C.
                                    Campbell (KPMG) comments.
  Wendy Shaffer            11/15/23 0.3 Performed Associate Director review, as of                0.3 $ 380    $     114.00
                                    11/15/23, of exhibits C2 of Yellow 1st combined
                                    monthly fee application, concurrently drafting review
                                    comments to provide to M. Orobia (KPMG).
  Celeste Campbell         11/15/23 2.3 Begin manager review of Yellow Corp 1st                   2.3 $ 340    $     782.00
                                    combined monthly exhibits (Exhibit C1) as required in
                                    advance of filing, concurrently providing comments.
  Mila Orobia              11/16/23 3.5 Began to prepare exhibit C1 for inclusion in the in       3.5 $ 240    $     840.00
                                    Yellow Corporation 2nd monthly fee application.




KPMG LLP Monthly Fee Statement                                                                                       Page 28 of 31
                            Case 23-11069-CTG               Doc 1483-2          Filed 12/22/23         Page 29 of 31

                                                           EXHIBIT C3

                                                     Yellow Corporation
                                                      Case No. 23-11069
                                                   Fee Application Services
                                          November 1, 2023 through November 30, 2023




          Name               Date                          Description                         Hours    Rate       Amount

  Mila Orobia              11/17/23 0.1 Continue, from earlier on 11/17/23, to prepare            0.1 $ 240    $      24.00
                                    exhibit C1 for inclusion in the in Yellow Corporation
                                    2nd monthly fee application.
  Mila Orobia              11/17/23 3.9 Continue, as of 11/17/23, to prepare exhibit C1 for       3.9 $ 240    $     936.00
                                    inclusion in the in Yellow Corporation 2nd monthly
                                    fee application.
  Celeste Campbell         11/19/23 0.6 Begin manager review of Exhibit C3 of 1st                 0.6 $ 340    $     204.00
                                    combined fee statement as required in advance of
                                    filing.
  Celeste Campbell         11/19/23 2.1 Continue manager review, as of 11/19, of Exhibit          2.1 $ 340    $     714.00
                                    C1 of 1st combined fee statement as required in
                                    advance of filing.
  Celeste Campbell         11/20/23 0.9 Continue, as of 11/20, manager review of Exhibit          0.9 $ 340    $     306.00
                                    C1 of 1st combined fee statement as required in
                                    advance of filing.
  Mila Orobia              11/20/23 2.4 Continue, as of 11/20/23, to prepare exhibit C1 for       2.4 $ 240    $     576.00
                                    inclusion in Yellow Corporation 2nd monthly fee
                                    application.
  Mila Orobia              11/21/23 0.1 Email communication with partners/leads                   0.1 $ 240    $      24.00
                                    requesting to review/approve Yellow Corp 1st
                                    combined monthly fee exhibit.
  Celeste Campbell         11/21/23 Final manager review of 1st monthly exhibits in               0.7 $ 340    $     238.00
                                    advance of submission for partner review.
  Mila Orobia              11/22/23 0.1 Email communication with M. Ensz (KPMG)                   0.1 $ 240    $      24.00
                                    requesting for description of services to be included in
                                    KPMG's 1st combined monthly fee application
                                    narrative for Yellow Corporation.
  Mila Orobia              11/27/23 0.1 Email communication with M. Ensz (KPMG)                   0.1 $ 240    $      24.00
                                    requesting approval/permission to apply signature to
                                    Yellow Corp 1st combined monthly fee application.
  Wendy Shaffer            11/27/23 0.5 Performed Associate Director review, as of                0.5 $ 380    $     190.00
                                    11/27/23, of Yellow 1st monthly fee application
                                    Narrative/Certification, concurrently revising /drafting
                                    review comments to provide to M. Orobia (KPMG).
  Mila Orobia              11/27/23 1.0 Finalize Yellow 1st combined fee application              1.0 $ 240    $     240.00
                                    package to be sent to W. Shaffer and/or C. Campbell
                                    (KPMG) for final review.
  Mila Orobia              11/27/23 2.8 Continue, as of 11/27/23, to prepare exhibit C1 for       2.8 $ 240    $     672.00
                                    inclusion in Yellow Corp 2nd monthly fee application.
  Mila Orobia              11/27/23 3.2 Continue, from earlier on 11/27/23, to prepare            3.2 $ 240    $     768.00
                                    exhibit C1 for inclusion in Yellow Corp 2nd monthly
                                    fee application.




KPMG LLP Monthly Fee Statement                                                                                       Page 29 of 31
                            Case 23-11069-CTG             Doc 1483-2         Filed 12/22/23         Page 30 of 31

                                                         EXHIBIT C3

                                                    Yellow Corporation
                                                     Case No. 23-11069
                                                  Fee Application Services
                                         November 1, 2023 through November 30, 2023




          Name               Date                        Description                       Hours     Rate       Amount

  Mila Orobia              11/28/23 0.1 Email communication with Yellow Corp debtors          0.1 $ 240     $       24.00
                                    counsel requesting to file/serve KPMG 1st Combined
                                    monthly fee application in Yellow Corp bankruptcy
                                    matter.
  Wendy Shaffer            11/28/23 0.1 Performed Associate Director review, as of            0.1 $ 380     $       38.00
                                    11/28/23, of Yellow 1st monthly PDF prior to sending
                                    to counsel for filing/service.


                                               Total Fee Application Services                36.5           $     9,664.00




KPMG LLP Monthly Fee Statement                                                                                    Page 30 of 31
                             Case 23-11069-CTG         Doc 1483-2       Filed 12/22/23      Page 31 of 31

                                                  EXHIBIT D

                                             Yellow Corporation
                                              Case No. 23-11069
                                      Summary of Out of Pocket Expenses
                                  November 1, 2023 through November 30, 2023


                  Category                                                     Amount
                  Airfare                                                $              -
                  Lodging                                                $              -
                  Meals                                                  $              -
                  Ground Transportation                                  $              -
                  Miscellaneous                                          $              -
                                          Total                          $              -




KPMG LLP Monthly Fee Statement                                                                         Page 31 of 31
